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                                   Exhibit
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AFFIDAVID
The Undersigned deposes and says:
Re: Nathaniel Degrave
   • I have known Nathaniel Degrave for more than a decade. He was born and
     raised in Boothwyn, PA. I had rented him a room for at least ten years.
   • During the many years, Nathaniel Degrave has never mentioned any
     interest in politics.
   • Nathaniel Degrave has never shown any form of aggression, nor any desire
     to engage in any form of conflict. He would never be in conflict with any
     form of authority.
   • Nathaniel Degrave could be described as more of a follower than a leader.
     His curiosity most likely led him to see what was happening on that January
     6th day. He is not the aggressive type of person in any form. He is not even
     interested in any type of sports.
   • Nathaniel Degrave will not engage in any unlawful events in the future.

The family and friends of Nathaniel Degrave respectfully implores this court to
release Nathaniel Degrave from custody.
This affidavit was executed by me on March 29, 2021
Respectfully,---- ---------


Boothwyn, P A -
